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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


                                              )
BETH DONOVAN,                                 )
                       Plaintiff              )
                                              )       CIVIL ACTION NO. 20-11976-ADB
v.                                            )
                                              )
CITY OF BOSTON,                               )
                       Defendant              )



                          JOINT STATEMENT OF THE PARTIES

       Pursuant to the Court's Order of January 15, 2021 and in accordance with Federal Rules

of Civil Procedure 16 (b) and Local Rule 16.1 (D), counsel for Plaintiff Beth Donovan and

counsels for Defendant City of Boston, have conferred and submit the following:

A.     JOINT DISCOVERY PLAN

       I.      All Automatic Disclosures will be exchanged by parties by February 26, 2021;

       2.      Fact Discovery deadlines:

               a. All written discovery, including requests for production of documents and

                   interrogatories will be served by parties no later than June 1, 2021.

               b. All requests for admissions must be served by June 1, 2021.

               c. All depositions, other than expert depositions, will be completed no later than

                   September 30, 2021.

       3.      Plaintiffs will disclose any experts by October 30, 2021;

       4.      Defendants' will disclose any experts by November 30, 2021; and

      5.       All expert discovery will be completed by December, 2021;

B.     MOTIONS AND CONFERENCES

       Parties submit a proposed schedule for motions:

            a. Dispositive motions, such as motions for swnmary judgement or partial summary
               judgment and motions for judgment on the pleadings, must be filed by January
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               30, 2022 with the opposition due thirty days thereafter. In the case of cross­
               motions the deadlines and page limits for the filings other than the Plaintiffs
               initial motion are set forth in the Session's Standing Order on Summary
               Judgement Motions unless specifically modified.

C.      CERTIFICATIONS

        The parties will make all necessary certifications, pursuant to Local Rule 16.1 (D)(3 ),

under separate cover.


PLAINTIFF                                                    DEFENDANT
BETH DONOVAN                                                 CITY OF BOSTON

                                                             Eugene L. O'Flaherty
                                                             Corporation Counsel

                                                             By its attorneys


Isl Dan V. Bair 11                                           Isl Erika P. Reis

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on January 27,
2021.

                                                     Isl    Dan V. Bair II
                                                     Dan V. Bair II, Esquire




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